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                                                                                    E-FILED
                                                  Wednesday, 28 October, 2020 01:00:45 PM
                                                              Clerk, U.S. District Court, ILCD

                   UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF ILLINOIS
                         URBANA DIVISION

UNITED STATES OF AMERICA,                )
                                         )
            Plaintiff,                   )
                                         )
     v.                                  )
                                         )     Case No. 20-cr-20042-05
GUADALUPE C. MORALES,                    )
                                         )
            Defendant.                   )

          THE UNITED STATES OF AMERICA’S RESPONSE TO
               DEFENDANT’S MOTION TO CONTINUE

     The United States of America, by and through John C. Milhiser, United

States Attorney for the Central District of Illinois, and Rachel E. Ritzer,

Assistant United States Attorney, respectfully submits the following

response to Guadalupe C. Morales’ motion to continue trial (R. 52).

     1.     On July 7, 2020, a federal grand jury charged the defendant,

Guadalupe      Cerecero    Morales,    with    conspiracy       to     distribute

methamphetamine (actual) in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A),

and 846. R. 1. The indictment alleges the defendant knowingly conspired

and agreed with co-conspirators named and unnamed to distribute

methamphetamine (actual) within the Central District of Illinois. Id.
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      2.     The defendant was ultimately arrested on October 21, 2020. The

defendant was arraigned on the charge on October 23, 2020, and was ordered

to be detained pending trial in this cause. d/e 10/23/2020; R. 51.

      3.     On October 27, 2020, the defendant filed a motion to continue the

pretrial hearing and jury trial scheduled in this case. R. 52. In support

thereof, the defendant advised additional time was needed to prepare the

matter for disposition or trial. Id. at 1.

      4.     Following discussion with defense counsel, Alfred Ivy, on

October 28, 2020, undersigned counsel has learned that the defendant is

requesting a thirty (30) day continuance of the trial in this cause.

      5.     The United States has no objection to a continuance of this cause.

                                       Respectfully submitted,

                                       JOHN C. MILHISER
                                       United States Attorney

                                By:    s/ Rachel E Ritzer
                                       Rachel E. Ritzer
                                       Assistant U.S. Attorney
                                       Office of the United States Attorney
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                       CERTIFICATE OF SERVICE

      I hereby certify that on October 28, 2020, I caused the foregoing to be
filed with the Clerk of the Court, which will provide service to attorney of
record through the ECF/PACER system.


                               /s/ Rachel E. Ritzer
                              Rachel E. Ritzer
                              Assistant U.S. Attorney
